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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


KENNETH T.,                                     )
                                                )
      Plaintiff,                                )
                                                )
                   v.                           ) 1:20-cv-00097-JDL
                                                )
ANDREW M. SAUL,                                 )
Commissioner of Social Security,                )
                                                )
      Defendant.                                )


      ORDER ACCEPTING THE RECOMMENDED DECISION OF THE
                     MAGISTRATE JUDGE
      Kenneth T. seeks judicial review of the Social Security Administration

Commissioner’s final decision determining that he is not disabled and denying his

application for disability benefits (ECF No. 1). Pursuant to 28 U.S.C.A. § 636(b)(3)

and D. Me. Local R. 16.3(a)(2), United States Magistrate Judge John C. Nivison held

a hearing on the Plaintiff’s Statement of Errors (ECF No. 13) on December 10, 2020.

The Magistrate Judge filed his Recommended Decision with the Court on March 22,

2021 (ECF No. 18), recommending that the Court affirm the Commissioner’s decision.

The time within which to file objections has expired, and no objections have been

filed. The Magistrate Judge notified the parties that failure to object would waive

their right to de novo review and appeal.

      Having reviewed and considered the Magistrate Judge’s Recommended

Decision, I concur with the Magistrate Judge’s conclusions as set forth in his

Recommended Decision. It is therefore ORDERED that the Recommended Decision



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(ECF No. 18) of the Magistrate Judge is hereby ACCEPTED, and the

Commissioner’s decision is AFFIRMED.

     SO ORDERED.

     Dated this 5th day of May, 2021.

                                                 /s/ Jon D. Levy
                                           CHIEF U.S. DISTRICT JUDGE




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